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 5                      IN THE UNITED STATES DISTRICT COURT
 6                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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     ROBERT SULLIVAN, MARLENE                )
 8   SULLIVAN,                               )   2:10-cv-00384-GEB-EFB
                                             )
 9                  Plaintiffs,              )
                                             )   ORDER VACATING JUDGMENT AND
10             v.                            )   SCHEDULING STATUS (PRETRIAL
                                             )   SCHEDULING) CONFERENCE
11   JP MORGAN CHASE BANK, NA., and          )
     DOES 1 through 100, inclusive,          )
12                                           )
                   Defendants.               )
13   ________________________________        )
14
15              A judgment was filed on September 2, 2010 because the Order

16   filed on September 2, 2010 failed to state in the conclusion of the

17   order that a federal claim is still pending. Therefore, the judgment

18   filed on September 2, 2010 is vacated.

19              Further,   a   Status    (Pretrial   Scheduling)    Conference   is

20   scheduled to commence at 9:00 a.m. on January 18, 2011. A joint status

21   report shall be filed no later than fourteen (14) days prior to Status

22   Conference.

23   Dated:   December 1, 2010
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25                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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